Case 16-53217-pmb      Doc 26   Filed 02/10/21 Entered 02/10/21 06:49:15        Desc Main
                                Document Page 1 of 3




  IT IS ORDERED as set forth below:



  Date: February 9, 2021
                                                 ________________________________
                                                             Paul Baisier
                                                     U.S. Bankruptcy Court Judge

 _______________________________________________________________




                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN RE                                     :      CASE NO. 16 - 53217 – PMB
                                          :
DORA MARIE HENDRIX,                       :
                                          :      CHAPTER 7
                                          :
        DEBTOR.                           :


                             ORDER REOPENING CASE


        On January 11, 2021, the United States Trustee filed the Motion to Reopen (the
“Motion”) [Dkt. No. 23] requesting that the Court enter an order reopening the case of

Dora Marie Hendrix. The United States Trustee had learned that Ms. Hendrix is entitled
to a personal injury award in connection with a product liability claim. The United States
Trustee believes the award is property of the estate and that administration of the asset

may result in a meaningful distribution to unsecured creditors.
Case 16-53217-pmb      Doc 26   Filed 02/10/21 Entered 02/10/21 06:49:15          Desc Main
                                Document Page 2 of 3


       The Motion initially came before the Court on January 25, 2021, and at that time
Ms. Hendrix and her attorney appeared at the telephonic hearing. The parties agreed
to continue the matter to February 8, 2021, so they can communicate about the relief
requested in the Motion.
       On February 8, 2021, the Motion again came before the Court for a telephonic
hearing. Present for the telephonic hearing were David S. Weidenbaum, counsel for the
United States Trustee, and Camio Robinson, counsel for Ms. Hendrix.              During the
calendar call, Ms. Robinson announced that Ms. Hendrix did not oppose the relief

requested in the Motion. The Court, having considered the matter and the record in the

case, finds sufficient cause to grant the unopposed Motion. Accordingly, it is

              ORDERED that the Motion to Reopen is GRANTED; and it is

       FURTHER ORDERED that the United States Trustee shall appoint a trustee to

serve in this case.
                                    END OF DOCUMENT

Prepared and submitted by:
NANCY J. GARGULA
United States Trustee
Region 21


    /s
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                                            2
Case 16-53217-pmb      Doc 26    Filed 02/10/21 Entered 02/10/21 06:49:15   Desc Main
                                 Document Page 3 of 3




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All parties on the mailing matrix in this case




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